09-50026-mg        Doc 14203         Filed 12/20/17 Entered 12/20/17 12:42:12         Main Document
                                                 Pg 1 of 6



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 In re:                                                        :
                                                               :       Chapter 11
 MOTORS LIQUIDATION COMPANY, et al.,                           :       Case No.: 09-50026 (MG)
 f/k/a General Motors Corp., et al.,                           :       (Jointly Administered)
                                                               :
                                              Debtors.         :
 --------------------------------------------------------------X

         STIPULATION ADMITTING CERTAIN EXHIBITS INTO EVIDENCE

         WHEREAS, the Joint Pretrial Order [ECF No. 14193] in the above-captioned action

 included Plaintiffs’ Objections to Defendants’ Exhibit List [Ex. 14193-7; Ex. F] and Defendants’

 Objections to Plaintiffs’ Exhibit List [Ex. 14193-8; Ex. G];

         WHEREAS, Plaintiffs and Defendants thereafter filed amended objections to their

 respective exhibit lists;

         WHEREAS, Plaintiffs’ Amended Objections to Defendants’ Exhibit List [ECF No.

 14194] and Defendants’ Amended Objections to Plaintiffs’ Exhibit List [ECF No. 14192] each

 contain certain exhibits to which no objection has been made;

         WHEREAS, Plaintiffs and Defendants agree to admit into evidence all exhibits listed on

 Plaintiffs’ Amended Objections to Defendants’ Exhibit List and Defendants’ Amended

 Objections to Plaintiffs’ Exhibit List to which no objection has been made;

         WHEREAS, Plaintiffs and Defendants agree to admit into evidence, for a limited

 purpose, all exhibits listed on Defendants’ Amended Objections to Plaintiffs’ Exhibit List to

 which objections have been made by the GUC Trust and New GM on the ground(s) of hearsay

 and/or relevance, but to which there are no objections as to admission of those exhibits into

 evidence solely for the fact that the matter was stated and not for the truth of the matter asserted;



                                                         1
09-50026-mg      Doc 14203         Filed 12/20/17 Entered 12/20/17 12:42:12        Main Document
                                               Pg 2 of 6



        WHEREAS, during the trial in this matter the Court requested that the parties reach an

 agreement to admit into evidence as an exhibit a copy of the Second Amended and Restated

 Motors Liquidation Company GUC Trust Agreement (the “Trust Agreement”) with the

 provisions relating to fiduciary duties owed by Wilmington Trust Company, as trustee for and

 administrator of the Motors Liquidation Company GUC Trust, highlighted;

        WHEREAS, counsel to the Participating Unitholders and counsel to the GUC Trust have

 each highlighted certain provisions of the Trust Agreement in accordance with the Court’s

 directive;

        WHEREAS, the highlighted GUC Trust Agreement has been stamped as Plaintiffs’

 exhibit PX-144, a copy of which is submitted to the Court in conjunction with this Stipulation;

        IT IS STIPULATED AND AGREED, by and between the undersigned counsel, subject

 to approval of the Court, that:

 1.     The following of Defendants’ exhibits, to which no objection has been made, are

        admitted into evidence for all purposes: DX-A, DX-B, DX-C, DX-D, DX-E, DX-F, DX-

        G, DX-H, DX-I, DX-J, DX-K, DX-L, DX-M, DX-N, DX-O, DX-P, DX-Q, DX-R, DX-S,

        DX-T, DX-U, DX-V, DX-W, DX-X, DX-Y, DX-Z, DX-AA, DX-BB, DX-CC, DX-DD,

        DX-EE, DX-FF, DX-GG, DX-HH, DX-II, DX-JJ, DX-KK, DX-LL, DX-MM, DX-NN,

        DX-OO, DX-PP, DX-QQ, DX-RR, DX-SS, DX-TT, DX-UU, DX-VV, DX-WW, DX-

        XX, DX-YY, DX-ZZ, DX-AAA, DX-BBB, DX-CCC, DX-DDD, DX-EEE, DX-FFF,

        DX-GGG, DX-HHH, DX-III, DX-JJJ, DX-KKK, DX-LLL, DX-MMM, DX-NNN, DX-

        OOO, DX-PPP, DX-QQQ, DX-RRR, DX-SSS, DX-TTT, DX-UUU, DX-VVV, DX-

        WWW, DX-XXX, DX-YYY, DX-ZZZ, DX-AAAA, DX-BBBB, DX-CCCC, DX-

        DDDD, DX-EEEE, DX-FFFF, DX-GGGG, DX-HHHH, DX-IIII, DX-JJJJ, DX-KKKK,




                                                 2
09-50026-mg   Doc 14203      Filed 12/20/17 Entered 12/20/17 12:42:12           Main Document
                                         Pg 3 of 6



      DX-LLLL, DX-MMMM, DX-NNNN, DX-WWWW, DX-YYYY, DX-AAAAA, DX-

      BBBBB, DX-CCCCC, DX-DDDDD, DX-EEEEE, DX-FFFFF, DX-GGGGG, DX-

      HHHHH, DX-IIIII, DX-JJJJJ, DX-KKKKK, DX-LLLLL, DX-MMMMM, DX-PPPPP,

      and DX-QQQQQ.

 2.   The following of Plaintiffs’ exhibits, to which no objection has been made, are admitted

      into evidence for all purposes: PX-001, PX-002, PX-003, PX-004, PX-005, PX-006, PX-

      007, PX-008, PX-009, PX-010, PX-011, PX-012, PX-013, PX-014, PX-016, PX-017,

      PX-019, PX-020, PX-021, PX-022, PX-023, PX-024, PX-025, PX-026, PX-027, PX-028,

      PX-029, PX-030, PX-031, PX-032, PX-033, PX-034, PX-035, PX-036, PX-037, PX-038,

      PX-039, PX-040, PX-041, PX-042, PX-043, PX-044, PX-045, PX-046, PX-047, PX-048,

      PX-049, PX-050, PX-051, PX-052, PX-053, PX-054, PX-056, PX-057, PX-058, PX-059,

      PX-060, PX-061, PX-062, PX-063, PX-064, PX-065, PX-066, PX-067, PX-068, PX-070,

      PX-071, PX-072, PX-073, PX-074, PX-075, PX-076, PX-077, PX-078, PX-079, PX-080,

      PX-081, PX-082, PX-083, PX-084, PX-085, PX-086, PX-087, PX-088, PX-089, PX-090,

      PX-091, PX-092, PX-093, PX-094, PX-095, PX-096, PX-098, PX-100, PX-101, PX-102,

      PX-103, PX-104, PX-105, PX-106, PX-107, PX-108, PX-109, PX-110, PX-111, PX-112,

      PX-113, PX-114, PX-115, PX-116, PX-117, PX-118, PX-119, PX-120, PX-121, PX-122,

      PX-123, PX-124, PX-125, PX-126, PX-127, PX-129, PX-130, PX-131, PX-132, PX-133,

      PX-134, PX-135, PX-136, PX-137, PX-138, PX-139, PX-140, PX-141, PX-142, and PX-

      143, and PX-144.

 3.   The following of Plaintiffs’ exhibits, to which objections have been made by the GUC

      Trust and New GM on the ground(s) of hearsay and/or relevance, are admitted into




                                              3
09-50026-mg    Doc 14203       Filed 12/20/17 Entered 12/20/17 12:42:12             Main Document
                                           Pg 4 of 6



       evidence solely for the fact that the matter was stated and not for the truth of the matter

       asserted: PX-15, PX-18, PX-55, PX-69, PX-97, PX-99, and PX-128.


 Dated: December 20, 2017
        New York, New York




                                                 4
09-50026-mg     Doc 14203     Filed 12/20/17 Entered 12/20/17 12:42:12        Main Document
                                          Pg 5 of 6



 By: __James C. Tecce________________          By: __Edward S. Weisfelner_______________
     Susheel Kirpalani                             Edward S. Weisfelner
     James C. Tecce                                Howard S. Steel
     Julia M. Beskin                               BROWN RUDNICK LLP
     QUINN EMANUEL URQUHART &                      Seven Times Square
     SULLIVAN LLP                                  New York, New York 10036
     52 Madison Avenue                             Tel: 212-209-4800
     New York, NY 10010                            eweisfelner@brownrudnick.com
     Tel: 212-849-7100                             hsteel@brownrudnick.com

     -and-                                     By: ___Sander L. Esserman________________
                                                   Sander L. Esserman
     Arthur J. Steinberg                           STUTZMAN, BROMBERG, ESSERMAN
     Scott Davidson                                & PLIFKA,
     KING AND SPALDING LLP                         A PROFESSIONAL CORPORATION
     1185 Avenue of the Americas                   2323 Bryan Street, Suite 2200
     New York, New York 10036                      Dallas, Texas 75201
     Tel: 212-556-2158                             Tel: 214-969-4900
                                                   esserman@sbep-law.com
     Counsel to New GM
                                                   Designated Counsel for the Ignition Switch
 By: ____Mitchell A. Karlan____________            Plaintiffs and Certain Non-Ignition Switch
     Mitchell A. Karlan                            Plaintiffs in the Bankruptcy Court
     James L. Hallowell
     GIBSON DUNN & CRUTCHER LLP
     200 Park Avenue                           By: ___Deborah J. Newman_______________
     New York, NY 10166                            Daniel H. Golden
     Tel: 212-351-3800                             Deborah J. Newman
                                                   AKIN GUMP STRAUSS HAUER
      Counsel to GUC Trust                         & FELD LLP
                                                   One Bryant Park
                                                   New York, NY 10036
 By: ____Steve W. Berman______________             Tel: 212-871-1002
     Steve W. Berman (admitted pro hac vice)
     HAGENS BERMAN SOBOL &                         Counsel to Participating Unitholders
     SHAPIRO LLP
     1918 Eighth Avenue, Suite 3300
     Seattle, Washington 98101
     Tel: 206-623-7292
     steve@hbsslaw.com




                                               5
09-50026-mg     Doc 14203      Filed 12/20/17 Entered 12/20/17 12:42:12         Main Document
                                           Pg 6 of 6




 By: ____Elizabeth J. Cabraser__________         By: ____Robert Hilliard________________
     Elizabeth J. Cabraser                           Robert Hilliard
     LIEFF CABRASER HEIMANN &                        HILLIARD MUÑOZ GONZALES LLP
     BERNSTEIN LLP                                   719 South Shoreline, Suite 500
     275 Battery Street, 29th Floor                  Corpus Christi, Texas 78401
     San Francisco, California 94111                 Tel: 361-882-1612
     Tel: 414-956-1000                               bobh@hmglawfirm.com
     ecabraser@lchb.com
                                                     Counsel for Certain Ignition Switch Pre-
       Co-Lead Counsel for the Ignition Switch       Closing Accident Plaintiffs
       Plaintiffs and Certain Non-Ignition
       Switch Plaintiffs in the MDL Court            -and-

                                                     Thomas J. Henry, Esq.
 By:   ____William P. Weintraub_________             THE LAW OFFICES OF THOMAS J.
       William P. Weintraub                          HENRY
       Gregory W. Fox                                4715 Fredricksburg, Suite 507
       GOODWIN PROCTER LLP                           San Antonio, TX 78229
       The New York Times Building
       620 Eighth Avenue                             Counsel to Certain Pre-Closing Accident
       New York, New York 10018                      Plaintiffs
       Tel: 212-813-8800
       wweintraub@goodwinlaw.com
       gfox@goodwinlaw.com                    By: ____Lisa M. Norman_______________
                                                  Lisa M. Norman (admitted pro hac vice)
       Counsel to Ignition Switch Pre-Closing     ANDREWS MYERS, P.C.
       Accident Plaintiffs Represented By         1885 St. James Place, 15th Floor
       Hilliard Muñoz Gonzales L.L.P.             Houston, TX 77056
                                                  Tel: 713-850-4200

                                                     Counsel to Certain Pre-Closing Accident
                                                     Plaintiffs




                                                 6
